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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
                  V.

 ROBERT MENENDEZ, NADINE MENENDEZ,                                          23-Cr-490 (SHS)
 WAEL HANA, JOSE URIBE, and FRED DAIBES,                                    ORDER
                                   Defendants.
- - - - - - - - - - - - - - - - - - - - - - - ------------------------

SIDNEY H. STEIN, U.S. District Judge.
     On December 20, 2023, defendants jointly sought a two-month adjournment of the
commencement of the trial of this action from May 6, 2024, to early July 2024. They also
requested two modifications to the pretrial motion schedule, consisting of a one-week
adjournment of the then-current deadline to January 15, 2024, and a bifurcation of the
motion schedule that would set a second deadline of March 8, 2024, for certain defense
motions. (See ECF No. 105 at 1.) The Court granted the first requested modification, and
set January 15, 2024, as the deadline for defense motions. (See ECF No. 106.)
    For the following reasons, the defense requests to adjourn the trial date and to
bifurcate pretrial motions are denied.
     At the initial pretrial conference on October 2, 2023, the Court heard argument from
the parties and set a schedule for, inter alia, submitting defense motions and the
commencement of trial, with no party objecting. There has been no material change
since then in the parties' circumstances. The fact that discovery has been voluminous is
consistent with the parties' stated expectations on October 2 and does not justify a two-
month adjournment of the schedule. In fact, the volume of discovery material is less
than defendants were concerned it was when they sought the adjournment on
December 20. While an inadvertent error made by a discovery vendor led defendants to
believe that they had received 735 terabytes of data, defendants actually had received
"only" three terabytes of data. (ECF No. 110.) While three terabytes is concededly a
substantial amount of data, it is but a tiny fraction of what defendants believed they had
on their plates to digest and is consistent with the expectations voiced at the initial
pretrial conference that discovery would be voluminous. Additionally, the Government
asserts that the discovery materials were produced in database load-ready format along
with "a detailed, text-searchable index identifying the material by control number range
with reasonable specificity." (ECF No. 111 at 2.) The Court expects that these measures
will aid in defendants' review of the discovery materials and that the Government will
engage in good-faith efforts to assist defendants in navigating the document production
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upon request. Indeed, the Government states that it has "repeatedly offered to answer
any questions the defense may have concerning where to find materials in discovery."
(Id. at 3.)
     Accordingly, IT IS HEREBY ORDERED that defendants' request to adjourn the
commencement of trial to early July and to bifurcate the submission of pretrial motions
is denied. The pretrial schedule is as follows: the deadline for pretrial motions is
adjourned to January 15, 2024; any response by the Government shall be filed on or
before February 5, 2024; any reply is due by February 12, 2024; and the commencement
of the trial of this action remains at Monday, May 6, 2024, at 9:30 a.m. in Courtroom
23A.


Dated: New York, New York
       December 28, 2023

                                        SO ORDERED:




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